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                              UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

BRYON JACKSON,                                     )
                                                   )
                 Plaintiff,                        ) Case Number: 3:21-cv-08458-LB
                                                   )
       v.                                          ) ORDER APPOINTING COUNSEL
                                                   )
TARGET CORPORATION,                                )
          Defendant.                               )
                                                   )


       Because the Plaintiff has requested and is in need of counsel to assist him in this matter and
volunteer attorneys are willing to be appointed to undertake this representation at the request of the
Federal Pro Bono Project, the attorneys listed below are hereby appointed as counsel for Plaintiff in
this matter.


                 Erika H. Warren (SBN 295570)                  Warren Lex LLP
                 Jennifer A. Kash (SBN 203679)                 2261 Market St., No. 606
                 Virginia G. Kain (SBN 344545)                 San Francisco, CA 94114-1612

       The scope of this referral shall be for:
                      all purposes for the duration of the case
                      the limited purpose of representing the litigant in the course of
                              mediation
                              early neutral evaluation
                              settlement conference
                           briefing  and hearing on the following motion (e.g., motion for
                      summary judgment or motion to dismiss):
                      __________________________________________________________
                           discovery as follows:
                      __________________________________________________________
                      ____________________________________________________
                              other: _____Trial, up to and including entry of judgment



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       All proceedings in this action are hereby stayed until four weeks from the date of this
order. Counsel shall be familiar with General Order No. 25 posted on the Court’s website.


       IT IS SO ORDERED.

Dated: September 14, 2023
                                                LAUREL BEELER
                                                United States Magistrate Judge




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